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2019-59634
COURT: 129th
FILED DATE: 8/26/2019
CASE TYPE: Other Injury or Damage

                                   KOOK, SOONKEYOK
                                 Attorney: BUZBEE, ANTHONY GLENN

                                               vs.
                 TRAVELERS HOME AND MARINE INSURANCE COMPANY


                                       Docket Sheet Entries
         Date         Comment




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